     Case 1:16-cv-00008-DLH-CRH Document 124 Filed 08/21/19 Page 1 of 1
                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 18-1725

                                     Richard Brakebill, et al.

                                                     Appellees

                                                v.

           Alvin Jaeger, in his official capacity as the North Dakota Secretary of State

                                                     Appellant

______________________________________________________________________________

         Appeal from U.S. District Court for the District of North Dakota - Bismarck
                                   (1:16-cv-00008-DLH)
______________________________________________________________________________

                                          MANDATE

       In accordance with the opinion and judgment of 07/31/2019, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                      August 21, 2019




Clerk, U.S. Court of Appeals, Eighth Circuit




   Appellate Case: 18-1725         Page: 1      Date Filed: 08/21/2019 Entry ID: 4821612
